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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        COURT FILE NO.: 0:19-cv-02735-JRT-HB


 SHELL WHEELER, CONNOR OLSON
 and DAN PEDERSON, on behalf of
 themselves and all others similarly situated,               RULE 26(f) REPORT

                               Plaintiffs,
 v.

 DONALD J. TRUMP FOR PRESIDENT,
 INC., a principal campaign committee,

                               Defendant.


       The parties/counsel identified below participated in the meeting required by Fed. R.
Civ. P. 26(f) on June 25, 2020, and prepared the following report.

       The pretrial conference in this matter is scheduled for July 9, 2020, at 1:00 p.m.
before United States Magistrate Judge Hildy Bowbeer.

DESCRIPTION OF CASE

      1. Concise Factual Summary of Plaintiffs’ Claims:

         Plaintiffs bring class action claims against Defendant for negligently, and/or will-
         fully contacting Plaintiffs through text messages on Plaintiffs’ cellular telephones,
         in violation of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et seq.,
         (“TCPA”), thereby invading Plaintiffs’ privacy.

      2. Concise Factual Summary of Defendant’s Defenses:

         Plaintiffs allege that Defendant used an autodialer to send them text messages in
         violation of the TCPA. Defendant moved to dismiss Plaintiffs’ Complaint under
         Rules 12(b)(1) and 12(b)(6), arguing that: (1) all Plaintiffs lacked standing because
         the receipt of a single text message is insufficient to constitute a concrete injury in
         fact under Article III; (2) Plaintiff Pederson lacked standing to challenge the Octo-
         ber 16 text message because he failed to establish it was traceable to Defendant;
         (3) Plaintiff Pederson provided his prior express consent to receive text messages;
         and (4) all Plaintiffs failed to plausibly allege the use of an autodialer. See Def.’s


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   Mem. in Support of Mot. to Dismiss [Dkt. No. 17]. Defendant also moved to com-
   pel arbitration of Plaintiff Pederson’s claim, arguing that Pederson had agreed to
   arbitrate his dispute with Defendant when he entered his information on Defendant’s
   website. Id.

   On June 8, 2020, the District Court issued an Order denying Defendant’s Motion to
   Dismiss and its Motion to Compel Arbitration. See Mem. Op. and Order Denying
   Mot. to Dismiss [Dkt. No. 38]. On June 15, 2020, Defendant filed a Notice of Ap-
   peal of the Court’s Order denying Defendant’s Motion to Compel Arbitration of
   Plaintiff Pederson’s claim. See Notice of Appeal [Dkt. No. 40]. That same day,
   Defendant filed a Motion for Certification Under 28 U.S.C. § 1292(b) and for a Stay
   of Proceedings. See Def.’s Mot. to Certify and Stay [Dkt. No. 41]. In that Motion,
   Defendant requested certification of two issues: (1) whether receiving a single text
   message constitutes a concrete injury for purposes of Article III standing; and
   (2) whether a device that stores lists of numbers qualifies as an autodialer under the
   TCPA. Defendant also requested that the Court stay proceedings in this matter
   pending appeal. That Motion is now fully briefed.

   Defendant maintains that all of Plaintiffs’ claims fail as a matter of law because
   (1) Plaintiffs have not suffered a cognizable injury under Article III; and (2) De-
   fendant did not use an autodialer to send the alleged text messages. Plaintiff Peder-
   son’s claim fails for the additional reasons that (1) the October 16 text message is
   not traceable to the Campaign; (2) his claim is subject to mandatory arbitration in
   Washington, D.C.; and (3) he provided his prior express consent to receive the mes-
   sages at issue.

   For the reasons explained in Dkt. No. 41, Defendant respectfully requests that this
   Court stay all discovery and refrain from setting any deadlines in this matter until
   the District Court rules on its Motion for Certification Under 28 U.S.C. § 1292(b)
   and for a Stay of Proceedings.

3. Statement of Jurisdiction (including statutory citations):

   Plaintiffs’ Position: Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because
   Plaintiffs seek up to $1,500 in damages for each text messages in violation of the
   TCPA, which, when aggregated among a proposed class number in the tens of
   thousands, exceeds the $5,000,000 threshold for federal court jurisdiction. Further,
   Plaintiffs allege a national class, which will result in at least one class member
   belonging to a different state than that of the Defendant, providing jurisdiction un-
   der 28 U.S.C. § 1332(d)(2)(A). Therefore, both elements of diversity jurisdiction
   under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court
   has jurisdiction. This Court has federal question subject matter jurisdiction under
   28 U.S.C. § 1331, as the action arises under the TCPA, a federal statute.

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       Defendant has already moved to dismiss Plaintiffs’ claims on the basis of standing,
       however this Court denied Defendant’s motion on June 8, 2020. Dkt. No. 38.

       Defendant’s Position: Jurisdiction is not proper because Plaintiffs have failed to
       establish that they have suffered a concrete injury in fact under Article III, and Plain-
       tiff Pederson has failed to establish that the October 16 text message is fairly trace-
       able to Defendant. Because none of the Plaintiffs have standing to pursue their
       claims, this Court lacks subject matter jurisdiction over this case.

   4. Summary of Factual Stipulations or Agreements:

       The parties have agreed to electronic service for discovery requests and responses.

   5. Statement of whether a jury trial has been timely demanded by any party.

       Plaintiffs have demanded a jury trial.

   6. Statement of whether all process has been served.

       All process has been served.

   7. If applicable, a list of all insurance carriers/indemnitors, including limits of
      coverage of each defendant or statement that the defendant is self-insured:

       Defendant has no applicable insurance coverage for this matter.

   8. If the parties would like the case resolved under the Rules of Procedure for
      Expedited Trials of the United States District Court for the District of Minne-
      sota, a statement of the parties’ agreement to that effect.

       The Parties do not agree to resolve the matter under the Rules of Procedure for
       Expedited Trials of the United States District Court, District of Minnesota.

CLASS CERTIFICATION MOTION

Plaintiffs’ Position:

   1. Plaintiffs shall file their motion for class certification on or before April 9, 2021.
   2. Defendant shall file papers in opposition on or before May 7, 2021.
   3. Plaintiffs reply shall be filed on or before May 28, 2021.

   Plaintiff disagrees with Defendant’s position of refraining from setting deadlines until
   after a ruling on Defendant’s Motion for Certification and Stay and also disagrees that

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   the Court refrain from setting class certification deadlines until after a summary judg-
   ment is ruled upon. This position is discussed in more detail in the Bifurcation of Dis-
   covery section herein.

Defendant’s Position:

   For the reasons explained in Dkt. No. 41, the Court should not set deadlines for briefing
   Plaintiffs’ class certification motion until after the District Court has ruled on Defend-
   ant’s Motion for Certification Under 28 U.S.C. § 1292(b) and for a Stay of Proceedings.
   If the District Court grants Defendant’s Motion, all proceedings in this matter will be
   stayed pending appeal. It would therefore be premature to set deadlines for class certi-
   fication briefing at this time.

   In the event that the District Court denies Defendant’s Motion for a Stay of Proceedings,
   this Court should nonetheless refrain from setting a briefing schedule for Plaintiffs’
   class certification motion until after ruling on Defendant’s motion for summary judg-
   ment. As explained below, Defendant believes that discovery in this matter should be
   bifurcated between merits and class discovery, with the first phase of discovery focus-
   ing on the merits of Plaintiffs’ individual claims. Defendant expects to file an early
   motion for summary judgment based on the evidence produced during merits discovery.
   Only if the Court denies Defendant’s motion for summary judgment, and class discov-
   ery thus becomes necessary, should this Court set a briefing schedule for Plaintiffs’
   class certification motion.

FACT DISCOVERY

   1. Initial Disclosures

      Plaintiffs’ Position: Plaintiff proposes exchanging initial disclosures no later than
      July 9, 2020 pursuant to Federal Rule of Civil Procedure 26(a)(1)(C).

      Defendant’s Position: Defendant objects to initial disclosures under Rule
      26(a)(1)(C) on the ground that they are not appropriate at this time. For the reasons
      explained in Dkt. No. 41, this Court should stay all discovery in this matter pending
      the District Court’s ruling on Defendant’s Motion for Certification Under 28 U.S.C.
      § 1292(b) and for a Stay of Proceedings. If the District Court grants Defendant’s
      Motion, all proceedings in this matter will be stayed pending appeal. Setting a dead-
      line for initial disclosures would therefore be premature at this time.

      In the event that the District Court denies Defendant’s Motion, or this Court over-
      rules Defendant’s objection to initial disclosures, Defendant proposes that the par-
      ties make their initial disclosures within 14 days after such ruling.


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2. Fact Discovery Procedures

   Plaintiffs’ Position: Fact discovery procedures shall be commenced in time to be
   completed on or before July 9, 2021. The parties have discussed whether an interim
   date for the substantial completion of document production should be set to facilitate
   the scheduling and taking of depositions. If so, Plaintiffs propose that document
   production should be substantially complete by July 9, 2021.

   Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
   stay all discovery, including fact discovery, and refrain from setting discovery dead-
   lines in this matter pending the District Court’s ruling on Defendant’s Motion for
   Certification Under 28 U.S.C. § 1292(b) and for a Stay of Proceedings. If the Dis-
   trict Court grants Defendant’s Motion, all proceedings in this matter will be stayed
   pending appeal. It would therefore be premature for this Court to set fact discovery
   deadlines at this time.

3. Bifurcation of Discovery

   Plaintiffs’ Position: Plaintiffs do not believe that discovery should be conducted
   in phases or limited to or focused on certain issues or certain sources before others
   and object to Defendant’s bifurcation described below. Federal Rule of Civil Pro-
   cedure Rule 26 states that the “[p]arties may obtain discovery regarding any non-
   privileged matter that is relevant to any party’s claim or defense[.]” Defendant’s
   request that discovery be bifurcated into only individual merit-based discovery then
   class discovery will only serve to delay these proceedings and ensure an unneces-
   sary expenditure of time and other resources by the Parties and the Court.

   In addition and even more importantly, the information necessary to establish that
   the dialers used to text the individual Plaintiffs requires classwide discovery re-
   quests as the dialers used to text the Plaintiffs would be the same dialers used to text
   the proposed classes and the classwide data in Defendant’s possession (i.e. date,
   time and content of text messages sent to the class per day by each dialing system)
   will assist in establishing that an ATDS was used. “Where a plaintiff alleges that
   other people have also received similar unsolicited text messages, courts may draw
   support for the inference that an ATDS was used.” Holt v. Facebook, Inc., 240 F.
   Supp. 3d 1021, 1030 (N.D. Cal. 2017). Here, classwide data showing the same text
   message sent on the same day and at the same time to the class members will assist
   to support Plaintiffs’ ATDS argument on an individual and classwide basis.

   Additionally, as to consent, as all Plaintiffs dispute any prior relationship with De-
   fendant or signing up on Defendant’s website, classwide information regarding how
   Defendant receives lists of individuals to send promotional text messages (for ex-


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ample by data purchases or web scraping) will assist to supporting Plaintiffs’ indi-
vidual claims that they did not consent to Defendant’s messages.

Other Courts in the District have rejected a defendant’s request for bifurcation and
Plaintiffs request that this Court allow discovery to proceed per the Federal Rules.
See Hayes v. Renters Warehouse, Court File No. 19-cv-2909 (NEB/BRT) see Order
denying bifurcation ECF #25 at page 3.

Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
refrain from setting discovery deadlines until after the District Court resolves De-
fendant’s Motion for Certification Under 28 U.S.C. § 1292(b) and for a Stay of
Proceedings. If the District Court denies Defendant’s Motion, this Court should
order discovery to be conducted in the following phases: (1) discovery related to
the merits of Plaintiffs’ individual claims; and then, if necessary, (2) class discovery.

Conducting merits-based discovery first would allow the parties to resolve two key
threshold liability issues at the outset, without the need to engage in burdensome
class discovery: (1) whether an autodialer was used to send the messages; and
(2) whether Plaintiffs consented to receive messages. Limited, first-stage produc-
tion of documents related to the equipment used to send the texts at issue would
resolve whether an autodialer was used without any need for the parties to engage
in costly and time-consuming class discovery. Similarly, limited discovery on the
consent issue would resolve whether Plaintiffs consented to receive messages. At
the conclusion of the first phase of discovery, Defendant expects to file a motion for
summary judgment on both of these issues. If this motion is granted as to either
issue, Plaintiffs’ claims will be dismissed, and the parties will not need to engage in
class discovery at all. Bifurcation of discovery is therefore warranted because it has
the potential to save the parties from the burden and expense of unnecessary class
discovery. See, e.g., Beseke v. Equifax Info. Servs., No. 17-cv-4971-DWF-KMM
(D. Minn. Jan. 29, 2018), ECF No. 22 (“The . . . schedule contemplates an initial
phase of discovery with respect to [the] individual claims, followed by cross sum-
mary judgment motions. In the event that the case survives past the summary judg-
ment stage, there will be a second phase of discovery limited to the class claims and
the propriety of class certification, followed by motions related to class certification.
This schedule best serves the needs of efficiency and conservation of resources,
while reaching an expeditious resolution of the issues in the case.”).

Federal courts have granted similar motions to bifurcate discovery in TCPA cases,
proceeding first with discovery on the merits of plaintiffs’ claims and then, if nec-
essary, with class discovery. See e.g., Boehm v. Pure Debt Solutions Corp., No.
8:19-cv-001177-LSC-CRZ (D. Ne. Sept. 13, 2019), ECF No. 41 (bifurcating merits
and class discovery in a TCPA lawsuit and ordering initial discovery to “focus[]
solely on whether Plaintiff has a cognizable claim”); Am.’s Health & Res. Ctr., Ltd.

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   v. Promologics, Inc., No. 16-cv-9281, 2018 WL 3474444, at *6 (N.D. Ill. July 19,
   2018) (bifurcating merits and class discovery in a TCPA lawsuit because “some
   limited, first-stage production could stave off substantial wasted efforts”); Physi-
   cians Healthsource, Inc. v. Janssen Pharm., Inc., No. 12-cv-2132, 2014 WL
   413534, at *4 (D.N.J. Feb. 4, 2014) (bifurcating discovery in a TCPA case because
   doing so “ha[d] the potential to save the parties and the Court from the substantial
   costs and burdens associated with whole scale class action discovery” and would
   “allow the Court to address a narrow, potentially dispositive issue in a timely and
   cost effective manner”).

   In addition, bifurcating discovery will promote judicial economy and efficiency be-
   cause class discovery will likely raise serious First Amendment concerns possibly
   resulting in discovery disputes and motions practice before this Court. The Supreme
   Court has recognized that the forced disclosure of political associations raises First
   Amendment concerns, because the “[i]nviolability of privacy in group association
   may in many circumstances be indispensable to preservation of freedom of associ-
   ation.” NAACP v. State of Ala. ex rel. Patterson, 357 U.S. 449, 462 (1958) (blocking
   order requiring disclosure of NAACP’s member list). Compelled disclosure of cam-
   paign-related communications in civil discovery can deter activities protected under
   the First Amendment “by chilling participation and by muting the internal exchange
   of ideas.” Perry v. Schwarzenegger, 591 F.3d 1147, 1163 (9th Cir. 2010) (blocking
   civil discovery order compelling production of internal campaign communications
   relating to strategy, messaging, and advertising). Thus, courts “have repeatedly
   found that compelled disclosure, in itself, can seriously infringe on privacy of asso-
   ciation and belief guaranteed by the First Amendment.” Id. at 1160 (citing AFL-
   CIO v. FEC, 333 F.3d 168, 175 (D.C. Cir. 2003)). Plaintiffs’ discovery requests
   implicate these First Amendment concerns because they seek, among other things,
   a list of the Campaign’s supporters and internal communications regarding the Cam-
   paign’s strategy and messaging. Because class-wide discovery threatens to force
   the Campaign to reveal information protected by the First Amendment, it would be
   more efficient for the parties to focus on merits discovery first, because the Court
   may be able to avoid these First Amendment issues if it defers class discovery. Wal-
   lace v. ConAgra Foods, Inc., 747 F.3d 1025, 1029 (8th Cir. 2014) (recognizing “a
   foundational principle in our legal system … that courts must make every effort to
   avoid deciding novel constitutional questions”).

4. The parties propose that the Court limit the use and number of discovery procedures
   as follows:

   a. No more than a total of 25 interrogatories served by each party on each party,
      counted in accordance with Rule 33(a), for each side.
   b. No more than 50 document requests shall be served by each party on each party.
   c. No more than 50 requests for admissions shall be served by each party on each

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      party.

5. Rule 35 Examinations

   N/A.

6. Depositions

   Plaintiffs’ Position: No more than ten (10) depositions, excluding expert witness
   depositions, shall be taken by each side.

   Defendant’s Position: No more than three (3) depositions, including Rule
   30(b)(6) depositions but excluding expert witness depositions, shall be taken by
   each side.

7. Where appropriate, the parties are encouraged to discuss possible additional agree-
   ments concerning limitations on the number and/or length of depositions, proce-
   dures for noticing and taking Rule 30(b)(6) depositions, the arrangements that may
   be needed for depositions taken outside the U.S. and/or in a language other than
   English, and other issues that, if addressed early, could make deposition discovery
   more cost-effective and avoid costly and time-consuming disputes.

   The parties have reached the following additional agreements concerning the taking
   of depositions:

   Given the ongoing COVID-19 pandemic, the parties agree to meet and confer re-
   garding the format, location, and timing of each deposition.

8. The parties have not agreed upon any additional limitations on discovery proce-
   dures.

9. Other Discovery Issues:

   a. Discovery of Electronically Stored Information. The parties have discussed
      issues about preservation, disclosure, production, or discovery of electroni-
      cally stored information, as required by Fed. R. Civ. P. 26(f), and request the
      Court to include the following agreement in the scheduling order:

          All ESI will be produced in searchable TIFF or PDF format, except as pro-
          vided herein. Unredacted Excel files, unredacted PowerPoint files, Access
          databases, and multimedia (audio or video) files will be produced in native
          format. Microsoft Word or other word-processing documents that contain


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                tracked changes or comments may, at the producing party’s option, be pro-
                duced in native format or as TIFF images, as long as they contain the
                tracked changes and comments contained in the original. The parties will
                meet and confer regarding the production of structured data as needed. Na-
                tive files will be produced together with a placeholder TIFF image labeled
                “File Produced Natively” or similar language. Each produced TIFF image
                will have a Bates number electronically “burned” onto the image that in-
                cludes an alpha prefix along with a fixed number, e.g., ABC000001. The
                parties agree that documents will be produced in a commercially searcha-
                ble format, at the highest resolution available, along with document level
                extracted text and corresponding metadata and load files. Images will be
                in black and white, unless color is necessary to understand the meaning of
                the document.

       b. Claims of Privilege or Protection. The parties have discussed issues about
          claims of privilege and of protection as attorney work-product or trial prepa-
          ration materials, as required by Fed. R. Civ. P. 26(f), including whether the
          parties agree to a procedure to assert these claims after production, or have
          reached any other agreements under Fed. R. Evid. 502. As a result of those
          discussions, the parties do request the Court to include the following agree-
          ments in the scheduling order:

           i.    The parties agree to follow the procedure set forth in Fed. R. Civ. P.
                 26(b)(5)(B) regarding information produced in discovery that is subject
                 to a claim of privilege or protection as trial-preparation material. Pursu-
                 ant to Fed. R. Evid. 502, the inadvertent production of any documents in
                 this proceeding shall not constitute a waiver of any privilege or protection
                 applicable to those documents in any this or any other federal or state
                 proceeding.
          ii.    Unless otherwise ordered, the parties are not obligated to include on their
                 privilege logs documents, communications, or other materials that came
                 into existence on or after the date that Plaintiffs’ first complaint was filed
                 in this action.
                 Privilege logs must be provided by the producing party within 30 days of
                 the production from which documents were withheld.

EXPERT DISCOVERY

       The parties anticipate that they will require expert witnesses at trial and that pre-
class certification experts will be needed. The parties propose that the Court establish the
following plan for expert discovery:



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    1. Number of Experts

       Plaintiffs anticipate calling 1-3 experts in the fields of: autodialing, software
       applications and websites.

       Defendant anticipates calling 1-3 experts in the fields of autodialing, peer-to-
       peer dialing, and relevant software applications.

    2. Disclosure of Expert Witnesses

       Plaintiffs’ Position: Disclosure of the identities of expert witnesses under Rule
       26(a)(2)(A) and the full disclosures required by Rule 26(a)(2)(B) (accompanied
       by the written report prepared and signed by the expert witness) and the full
       disclosures required by Rule 26(a)(2)(C), shall be made as follows:

        a.    Identities and reports by Plaintiff 1 on or before May 9, 2021.
        b.    Identities and reports by Defendants on or before June 9, 2021.
        c.    Rebuttal identities and disclosures by: July 9, 2021.

       Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
       refrain from setting deadlines for expert disclosures pending the District Court’s
       ruling on Defendant’s Motion for Certification Under 28 U.S.C. § 1292(b) and for
       a Stay of Proceedings. If the District Court grants Defendant’s Motion, all proceed-
       ings in this matter will be stayed pending appeal. It would therefore be premature
       for this Court to set deadlines for expert disclosures at this time.

    3. Expert Discovery Deadlines

       Plaintiffs’ Position: Expert discovery, including depositions, shall be completed by
       August 6, 2021.

       Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
       stay all discovery, including expert discovery, pending the District Court’s ruling
       on Defendant’s Motion for Certification Under 28 U.S.C. § 1292(b) and for a Stay
       of Proceedings. If the District Court grants Defendant’s Motion, all proceedings in
       this matter will be stayed pending appeal. It would therefore be premature for this
       Court to set deadlines for expert discovery at this time.


1
  The parties should indicate whether, given the issues in the case, it would be more mean-
ingful to identify the deadlines for the disclosing party by who bears the burden of proof
on an issue rather than by plaintiffs or defendants.

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NON-DISPOSITIVE MOTION DEADLINES

     The parties propose the following deadlines for filing non-dispositive motions:

  1. Motions to Amend Pleadings

     Plaintiffs’ Position: Except as provided in paragraph 4 below, all motions that
     seek to amend the pleadings or to add parties must be filed and served on or before
     September 25, 2020.

     Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
     refrain from setting a deadline for motions to amend the pleadings or add parties
     pending the District Court’s ruling on Defendant’s Motion for Certification Under
     28 U.S.C. § 1292(b) and for a Stay of Proceedings. If the District Court grants
     Defendant’s Motion, all proceedings in this matter will be stayed pending appeal.
     It would therefore be premature for this Court to set a deadline for motions to
     amend the pleadings or add parties at this time.

  2. Any motion that seeks to amend the pleadings to add a claim for punitive damages
     must be filed and served on or before N/A.

  3. Non-Dispositive Motions

     Plaintiffs’ Position: All non-dispositive motions and supporting documents, in-
     cluding those that relate to fact and expert discovery, and excluding any Daubert mo-
     tions, shall be filed and served on or before September 9, 2021.

     Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
     refrain from setting a deadline for filing non-dispositive motions and supporting
     documents pending the District Court’s ruling on Defendant’s Motion for Certifica-
     tion Under 28 U.S.C. § 1292(b) and for a Stay of Proceedings. If the District Court
     grants Defendant’s Motion, all proceedings in this matter will be stayed pending
     appeal. It would therefore be premature for this Court to set a deadline for non-
     dispositive motions and supporting documents at this time.

  4. The parties do propose that a party be required to request an informal conference
     with the Court before filing any formal discovery motion.

PROTECTIVE ORDER

     The parties do intend to submit a proposed Protective Order.


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       If either party believes a Protective Order is necessary, the parties shall jointly sub-
mit a proposed Protective Order, identifying any terms on which the parties disagree so
they can be discussed in connection with the pretrial conference.

DISPOSITIVE MOTION DEADLINES

   1. Completion of Expert Discovery Before Dispositive Motions

       Plaintiffs’ Position: Plaintiffs do believe that expert discovery must be completed
       before dispositive motions are filed.

       Defendant’s Position: Defendant does not believe that expert discovery must be
       completed before dispositive motions are filed. Rule 56 provides that “a party may
       file a motion for summary judgment at any time until 30 days after the close of all
       discovery.” Fed. R. Civ. P. 56(b).

   2. Early Dispositive Motions

       Plaintiffs’ Position: Plaintiffs do not believe that early dispositive motions (i.e.
       before the completion of all the fact and expert discovery) on one or more issues
       could be of material assistance in resolving the case.

       Defendant’s Position: Defendant does believe that early dispositive motions (i.e.
       before the completion of all the fact and expert discovery) on one or more issues
       could be of material assistance in resolving the case. In particular, Defendant ex-
       pects that an early motion for summary judgment on the consent issue and/or the
       autodialer issue could expeditiously resolve this case. Rule 56 provides that “a party
       may file a motion for summary judgment at any time until 30 days after the close of
       all discovery.” Fed. R. Civ. P. 56(b).

   3. Dispositive Motions Deadline

       Plaintiffs’ Position: Plaintiffs recommend that all dispositive motions, including
       Daubert motions, be filed and served on or before October 15, 2021.

       Defendant’s Position: For the reasons explained in Dkt. No. 41, this Court should
       refrain from setting a deadline for filing dispositive motions, including Daubert mo-
       tions, pending the District Court’s ruling on Defendant’s Motion for Certification
       Under 28 U.S.C. § 1292(b) and for a Stay of Proceedings. If the District Court
       grants Defendant’s Motion, all proceedings in this matter will be stayed pending
       appeal. It would therefore be premature to set a dispositive motions deadline at this
       time.


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SETTLEMENT

  1. The parties must conduct a meaningful discussion about possible settlement before
     the initial pretrial conference, including a written demand by the Plaintiff(s) and a
     written response by each Defendant. The parties must also discuss whether private
     mediation or an early settlement conference with the Court (or another form of
     alternative dispute resolution) would be productive and, if so, when it should occur
     and what discovery, if any, would be necessary to conduct before such a confer-
     ence.

     The results of that discussion, including any proposals or recommendations, are as
     follows:

     Plaintiffs’ Position: Plaintiff requires additional information sought in discovery
     in order to make a settlement demand. In addition, the Defendant should address
     the status of its settlement discussions with the Plaintiff and putative class members
     in the competing, albeit subsequently filed TCPA class action in the Northern Dis-
     trict of Illinois (Eastern Division) – Diller v. Donald J. Trump for President, Inc.,
     et al., 20-cv-01079 (TMD).

     Defendant’s Position: Defendant is willing to review any written demand from
     Plaintiffs. Until Plaintiffs provide such a written demand, Defendant is unable to
     assess whether a resolution is possible or likely at this time.

  2. Each party will email to Magistrate Judge Bowbeer’s chambers, no later than one
     (1) week before the pretrial conference, a confidential letter of no more than three
     (3) pages, setting forth such additional, confidential information about the party’s
     interest in settlement or possible settlement proposals that may be of assistance to
     Magistrate Judge Bowbeer in planning or furthering early settlement efforts.
     PLEASE NOTE: This confidential letter should not advance arguments or posi-
     tions on issues that may come before Magistrate Judge Bowbeer for ruling.

  3. The Court will discuss this topic with the parties at the pretrial conference and will
     set a date for an early settlement conference or for a status conference to determine
     when the case will be ready for a productive settlement conference.

TRIAL

  1. Trial by Magistrate Judge



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     The parties have not agreed to consent to jurisdiction by the Magistrate Judge pur-
     suant to Title 28, United States Code, Section 636(c). (If the parties agree, the con-
     sent form, signed by both parties, should be filed with the Clerk of Court.) Please
     note that if the parties consent to magistrate judge jurisdiction, all proceedings, in-
     cluding trial by jury, if any, will be before the magistrate judge assigned to the case.

  2. Trial Date and Length

     The parties agree that the anticipated length of the jury trial is four (4) days.

     Plaintiffs’ Position on Trial Date: This case will be ready for trial on: December
     9, 2021.

     Defendant’s Position on Trial Date: For the reasons explained in Dkt. No. 41,
     this Court should refrain from setting a date for trial pending the District Court’s
     ruling on Defendant’s Motion for Certification Under 28 U.S.C. § 1292(b) and for
     a Stay of Proceedings. If the District Court grants Defendant’s Motion, all pro-
     ceedings in this matter will be stayed pending appeal. Setting a trial date would
     therefore be premature at this time.


Dated: July 2, 2020
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